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 1   Law Office of Maria W. Tam
     Maria W. Tam (CSB#:164996)
 2   809 S. Atlantic Blvd., Suite 205
     Monterey Park, CA 91754
 3   Tel: (626) 281-9353
     Fax: (626) 281-9354
 4

 5   Attorney for Defendant
     VITAJOY USA, INC.
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 7
                               UNITED STATES BANKRUPTCY COURT
 8
                                SOUTHERN DISTRICT OF CALIFORNIA
 9
10   In re:                                      )               Case No.: 17-06078-MM7
                                                 )
11   CORE SUPPLEMENT TECHNOLOGY, INC., )                         Adv Proceeding No.: 19-90111-MM
                                                 )
12                    Debtor.                    )               Chapter 7
                                                 )
13   RICHARD M KIPPERMAN, Chapter 7 Trustee, )
                                                 )               ANSWER
14                                               )               OF DEFENDANT VITAJOY USA, INC.
                      Plaintiff,                 )
15                                               )
                                                 )
16   v.                                          )
                                                 )               Date: None Set
17   VITAJOY USA, INC. a California corporation, )               Time: None Set
                                                 )               Dept: One (Rm 218)
18                    Defendant.                 )               Judge: Hon. Margaret M. Mann
                                                 )
19
              Defendant VITAJOY USA, INC. answers this adversary complaint as follows:
20
              Defendant has no information or belief sufficient to enable it to accurately respond to the
21
     allegations set forth in Paragraphs 1, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19 and
22
     20 inclusive, of this adversary complaint and, on that basis denies each and every allegation set
23
     forth in these paragraphs.
24
              Defendant admits to Paragraph 2.
25
                                          FIRST SPECIAL DEFENSE
26
     1.       The Complaint should be dismissed on account of insufficiency of service or process.
27
                                        SECOND SPECIAL DEFENSE
28

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 1   2.      The Complaint should be dismissed for failure to state a claim upon which relief can be
 2   granted.

 3                                         THIRD SPECIAL DEFENSE
 4   3.      The Complaint is barred by the statute of limitations.

 5                                     FOURTH SPECIAL DEFENSE
 6   4.      The Complaint is barred by reason of the conduct of the plaintiff which constitutes

 7   estoppel and waiver.
 8                                         FIFTH SPECIAL DEFENSE

 9   5.      The plaintiff is not entitled to any relief against defendant by the doctrine of laches and/or
10   unclean hands.

11                                         SIXTH SPECIAL DEFENSE
12   6.      That plaintiff failed to mitigate its damages.

13                                     SEVENTH SPECIAL DEFENSE
14   7.      The Complaint is barred by Statute of Fraud.

15                                         EIGHTH SPECIAL DEFENSE
16   8.      The alleged transfers may not be avoided since the transfers were contemporaneous

17   exchange for new value given to the debtor.
18                                         NINTH SPECIAL DEFENSE

19   9.      The alleged transfers may not be avoided since the transfers were in payment of a debt
20   incurred by the debtor in the ordinary course of business.

21                                         TENTH SPECIAL DEFENSE
22   10.     The alleged transfer may not be avoided since the defendant has given new value to the

23   debtor after the alleged transfers.
24                                    ELEVENTH SPECIAL DEFENSE

25   11.     The alleged transfer may not be avoided since debtor owes defendant the approximate sum
26   of nine hundred seventy three thousand two hundred fifty seven dollars and fifty cents

27   ($973,257.50) as reflected the Proof of Claim failed by defendant.
28   //

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 1   WHEREFORE, defendant prays that the Court will:
 2   1.    deny plaintiff’s complaint;

 3   2.    award the defendant attorneys fees and cost;
 4   3.    award the defendant any and other relief as the court deems proper.

 5
 6   Dated: October 16, 2019                              Law Office of Maria W. Tam

 7                                                        /s/Maria W. Tam
 8                                                        Maria W. Tam, Esq.
                                                          Attorney for Defendant
 9                                                        VITAJOY USA, INC.
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